                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF MISSOURI
                                   WESTERN DIVISION

LISA BENSON COOPER,                            )
                                               )
         Plaintiff,                            )
v.                                             )      No. 17-00041-CV-W-BP
                                               )
SCRIPPS MEDIA, INC.,                           )
                                               )
         Defendant.                            )

  DEFENDANT’S SUGGESTIONS IN OPPOSITON TO PLAINTIFF’S MOTION TO
 RECONSIDER THE COURT’S RULING REGARDING RFP 42 IN DOCUMENT # 339


         COMES NOW, Defendant, Scripps Media, Inc. (“Defendant” or “Scripps”) and responds

to Plaintiff’s Motion to Reconsider the Court’s Ruling Regarding RFP 42 in Document #339 (the

“Motion”) as follows. [Dkt. No. 346]. Plaintiff has already in its possession, because Defendant

has previously produced, the requested documents, but seems to have overlooked them, in an effort

to recklessly allege that “substantive edits” may have been made and that there is “strong evidence

of pretext.” [Dkt. No. 346]. To make such allegations against Mr. David Giles, Defendant’s Vice

President, Deputy General Counsel and Chief Ethics Officer on a dubious and unsubstantiated

theory, is simply beyond the pale—particularly, when the requested document has been previously

produced, and apparently ignored by Plaintiff.

         While there is no such requirement that Defendant do Plaintiff’s job in putting together the

sequence of events, when Plaintiff failed to make the proper inquiries or diligently review what

has been previously produced, Defendant will do so nonetheless in efforts to put this issue to bed

once and for all:

        On May 10, 2018 at 5:19PM, Mr. David Giles received Defendant’s Trial Exhibit 1025

(SCRIPPS 5814) an email from its third party vendor, EthicsPoint entitled, New Case (#T-334)—



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Discrimination or Harassment which included a live link to the hotline complaint relating to

Plaintiff’s May 9, 2018 Facebook post. See Defendant’s Trial Exhibit 1025 (SCRIPPS 5814)

attached hereto as Exhibit A.

      When Mr. Giles clicked the live link in the email from EthicsPoint, the link took him to

Defendant’s Proposed Trial Exhibit 1025 (SCRIPPS 5816), which is a login page for EthicsPoint.

See SCRIPPS 5816, previously produced to Plaintiff, attached hereto as Exhibit B.

      After receiving this email notice, Mr. Giles entered his user name and password through

the NAVEX Global system, and was able to access and review the complaint referenced in the

email received from EthicsPoint. See Exhibits A and B, attached hereto.

      At 6:21PM, Mr. Giles advised Ms. Danyelle Wright, Defendant’s Vice President,

Employment and Labor Law, and Chief Diversity Officer and Ms. Candace Anderson, Defendant’s

Vice President, and Senior Human Resources Business Partner, of the ethics complaint he had

received at 5:19PM. See Dkt. No. 346-1 and Defendant’s Proposed Trial Exhibit 760 (Molloy

194-195/SCRIPPS 3713-3714), attached hereto as Exhibit C.

      At 7:59AM, the next morning, Ms. Wright responded to Mr. Giles with a request that Mr.

Giles, cut and paste the allegations. (Id).

      Mr. Giles did so by logging back into Navex’s Global online system, (where the complaint

lived), cutting it directly from the online system, and pasting into an email that he sent back to Ms.

Wright and Ms. Anderson at 8:10AM. (Id). The EthicsPoint complaint did not live or exist outside

of NAVEX’s online system.

       Plaintiff could have, but did not depose Mr. Giles or NAVEX during the discovery period,

nor did it subpoena NAVEX for further clarification regarding how its online system for noticing

its clients—here Defendant—of how complaints are received, noticed and maintained. Thus, to




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jump to an assumption of edits or altering without substantiation is inappropriate and does not

warrant the requested relief nor does it support Plaintiff’s pretext argument.        Accordingly,

Plaintiff’s requested relief should be denied.


                                         CONCLUSION

        That Plaintiff did not make the proper inquiries to glean this process is no fault of

Defendant’s and does not support pretext. Moreover, a simple review of Defendant’s document

production would show that Defendant has sufficiently responded to plaintiff’s requests relating to

the May 10, 2018 EthicsPoint Complaints. As such, Plaintiff’s Motion should be denied in its

entirety.




Dated: January 22, 2019                          Respectfully submitted,

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                                 CERTIFICATE OF SERVICE



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     I hereby certify that on January 22, 2019, the foregoing was electronically filed via
CM/ECF, effecting service on counsel of record, as follows:

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